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Lee County Circuit Court                    Case No.:CL18100216-00
LEE COUNTY VIRGINIA                 Vs      PURDUE PHARMA LP



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 COURT ADDRESS:
 P.O. BOX 326
 JONESVILLE, VA. 24263
 PHONE # :276-346-7763




                                                                       OFFICIAL RECEIPT
                                                                       LEE CIRCUIT COURT
                                                                              CIVIL



              DATE : 10/22/2018                   TIME : 15:49:38                                CASE # : 105CL1810021600




                                                               PY
          RECEIPT # : 18000005188        TRANSACTION # : 18102200022
         CASHIER : LKM            REGISTER # : C632                                         FILING TYPE : COM                  PAYMENT : FULL PAYMENT
 CASE COMMENTS : LEE COUNTY VIRGINIA v. PURDUE PHARMA LP
    SUIT AMOUNT : $40,000,000.00
      ACCOUNT OF : LEE COUNTY VIRGINIA
          PAID BY : LEE COUNTY VIRGINIA
            CASH : $0.00
    DESCRIPTION 1 : COM:COMPLAINT - CATCH-ALL
                        2 : PLAINTIFF: LEE COUNTY VIRGINIA


  ACCOUNT
   CODE
    049
      106
          WRIT TAX (CIVIL)
                                      O
                        3 : NO HEARING SCHEDULED

                                      DESCRIPTION


               (TTF) TECHNOLOGY TRUST FUND FEE (CIRCUIT COURT)
                                                                        PAID

                                                                          $0.00
                                                                          $0.00
                                                                                  ACCOUNT
                                                                                   CODE
                                                                                    170
                                                                                    304
                                                                                                       DESCRIPTION

                                                                                          COURT TECHNOLOGY FUND
                                                                                           CIVIL FILING FEE (LAW & EQUITY)
                                                                                                                                            PAID

                                                                                                                                                   $0.00
                                                                                                                                                   $0.00
                                     C
      123      LEGAL AID SERVICES                                         $0.00
      147      INDIGENT ASSISTANCE (INA)                                  $0.00

                                                                                                                             TENDERED : $           0.00
                                                                                                                         AMOUNT PAID : $            0.00




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